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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION


JOHN ANDERSON                                                               PLAINTIFF

v.                                                             NO.: 3:19-CV-255-DPM

CITY OF WEST MEMPHIS, MAYOR
MARCO MCCLENDON, IN HIS OFFICIAL
CAPACITY, CHIEF E.C. WEST, IN HIS
OFFICIAL CAPACITY, OFFICER
LARTERRIOUS JOHNSON, INDIVIDUALLY
AND IN HIS OFFICIAL CAPACITY,                                               DEFENDANTS


                              AGREED PROTECTIVE ORDER


        Plaintiff John Anderson and Defendants, City of West Memphis, Mayor Marco

McClendon, in His Official Capacity, Chief E.C. West, in His Official Capacity, Officer

Larterrious Johnson, Individually and in His Official Capacity, and non-party Southland Racing

Corporation ("Southland") [having been dismissed by this Court's 24 March 2020 Order (ECF No.

37)], by counsel, pursuant to the provisions of FRCP 26(c)(l)(G), agree to the entry of this

Protective Order, which shall govern certain designated discovery information in this case:

     1. For purposes of this Order, "Confidential" information shall mean any documents,

        including but not limited to electronically stored information ("ESI"), tangible things, or

        deposition testimony that is designated by any party or Southland with a CONFIDENTIAL

        watermark and the following legend:

               CONFIDENTIAL. This document is subject to a Protective Order entered by the
               United States District Court, Eastern District of Arkansas, No. 3:19-CV-255-DPM.

     2. The following procedures shall apply to "Confidential" information subject to this Order

        and disputes arising from such a designation:
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       a. Any party or Southland may designate any document, material, other thing, or

           portions thereof (and the information contained therein) as "Confidential." The

           party or Southland disclosing "Confidential" information shall mark the

           information at the time of disclosure.

       b. If a party or Southland in good faith disagrees with a "Confidential" designation by

           the other party, the party shall inform counsel for the party or Southland that made

           the "Confidential" designation in writing of the disagreement within 30 days of

           receipt of such a designation.

       c. Upon written notification that a party disagrees with a "Confidential" designation,

           counsel will confer in good faith in person in an effort to resolve the dispute without

           Court intervention.

       d. If the parties or Southland cannot resolve the dispute after conferring, the parties

           shall file a joint report explaining the disagreement under the CM/EMF event "Joint

           Report of Discovery Dispute" following the procedure for Discovery Disputes set

           out in the Final Scheduling Order (Docket #9).

       e. Failure to follow the procedures outlined herein shall constitute a waiver of any

           rights a party or Southland may have regarding a "Confidential" designation.

3. All "Confidential" information shall be used only for the purposes of this case, including

   trial and preparation for trial, shall not be used for any other purpose, including other

   litigation (except as allowed by applicable rules of evidence), and shall not be disclosed to

   any person or governmental agency or otherwise made public except in compliance with

   the terms of this Order.




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 a. Except as otherwise provided herein, "Confidential" information may be disclosed

    by the receiving party only to:

         1.   the Court and any employee thereof; and

        11.   any expert retained or consulted by a party for the purpose of obtaining such

              expert's advice or opinion regarding any issue in this litigation, but only to

              the extent necessary for the expert to provide such advice or opinion and

              subject to the conditions set forth in paragraph 4(b).

       m . any other persons as may be qualified to receive "Confidential" information

              pursuant to a written agreement between the parties, or pursuant to any order

              of the Court, after notice to all affected parties and, if applicable, Southland.

 b. Before disclosing "Confidential" information (other than to the Court), the

    receiving party shall insure that the intended recipient of such disclosure has: (1)

    been provided a copy of this Order; and (2) executed an Agreement to Maintain

    Confidentiality in the form attached hereto as Exhibit A.

 c. Any person to whom "Confidential" information is disclosed by the receiving party

    or by any person who obtains such "Confidential" information from the receiving

    party shall be bound by the provisions of this Order and is subject to all appropriate

    sanctions and remedies for any violation hereof.

 d. In the event that any documents designated as "Confidential" information are

    introduced into evidence or used as demonstrative exhibits in the courtroom in the

    presence of a jury, such documents shall not bear any legend identifying the

    documents as "Confidential" information that was placed on such document during

    the litigation. Such legend shall be removed or obscured from documents that will



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            be seen by the jury. Such documents shall continue to be subject to the terms of this

            Order in accordance with their designation as "Confidential" information.

       e. Information designated as "Confidential" must not be filed on the public docket. If

            practicable, it should be redacted. FED. R. CIV. P. 5.2. If an entire page contains

            information designated as "Confidential," substituting a page marked "Redacted"

            is an acceptable redaction method. If redaction is impracticable, a party must move

            for permission to file any information designated as "Confidential" and a related

            motion, brief, or paper, containing that material under seal. The moving party must

            justify sealing with specifics and solid reasons including an explanation about why

            redaction cannot be done.

       f.   If a receiving party makes a copy of any "Confidential" information, each copy

            shall have the watermark and protective legend described in paragraph 1(b).

       g. Notwithstanding any other provisions of this Order, no "Confidential" information

            produced pursuant to this Order shall be disclosed to any employee or consultants

            of any other business entity engaged in the research, development, manufacturing,

            or distribution of any pharmaceutical, biologic, medical device, _or other FDA-

            regulated product, or to any witness who is employed by such an entity or by any

            governmental agency.

4. No item shall be deemed "Confidential" if it has been made public by the producing party,

   is generally known throughout the trade and public, or comes to be known to the receiving

   party through means not constituting breach of any proprietary or confidential relationship

   or obligation or breach of this Order.




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5. All "Confidential" information and copies of "Confidential" information shall be returned

   and surrendered to the producing party or person upon the conclusion of this case, which

   shall be construed as 30 days following the entry of a final, non-appealable order disposing

   of the case. Alternatively, the party, person, or Southland in possession of "Confidential"

   information may destroy all such information and certify that such destruction has taken

   place.

6. This Order shall remain in effect for one year after this case ends, including any appeal.

   Thereafter, the obligations imposed shall continue, but shall be solely a matter of contract

   between the parties.

7. The person or party in possession of "Confidential" information shall not remove the

   confidential watermark or confidentiality legend from any material designated as

   "Confidential" or in any way alter such information. Any such removal or alteration shall

   be deemed to be an express violation of this order.

8. Any dispute about any alleged violation of this Order shall be handled by following the

   procedure for Discovery Disputes set out in the Final Scheduling Order (Docket #9).

9. This Order is entered solely for the purpose of facilitating the exchange of documents and

   information between the parties to this action and Southland without unnecessarily

   involving the Court in the process. Nothing in this Order nor the production of any

   information or document under the terms of this Order nor any proceedings pursuant to

   this Order shall be deemed to be an admission or waiver by either party or Southland, to

   be an alternation of the confidentiality or nonconfidentiality of any such document or

   information, or to be an alteration of any existing obligation of any party or Southland or

   the absence of any such obligation.



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                                              Mayor Marco McClendon, in his
                                              official capacity; Chief E. C. West, in
                                              his individual and official capacity;
                                              And Officer Larterrious Johnson, in
                                              his individual and official capacity

                                              And



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                                              Corporation



This   ~;-ft._ day of   ,½?~h.t,-   , 2020.



THE HONORABLE D.P.A RSHALL, JR.
UNITED STATES DISTRICT JUDGE

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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF ARKANSAS
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JOHN ANDERSON                                                                PLAINTIFF

v.                                                             NO.: 3:19-CV-255-DPM

CITY OF WEST MEMPHIS, MAYOR
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OFFICIAL CAPACITY, OFFICER
LARTERRIOUS JOHNSON, INDIVIDUALLY
AND IN HIS OFFICIAL CAPACITY,                                                DEFENDANTS


                   AGREEMENT TO MAINTAIN CONFIDENTIALITY



       I, - - - - - - - - - ~ hereby agree to maintain the confidentiality of any and all

documents, electronically stored information, tangible things, or deposition testimony provided to

me that are designated with the following legend:

       CONFIDENTIAL. This document is subject to a Protective Order entered by the United

       States District Court, Eastern District of Arkansas, No. 3: 19-CV-255-DPM

       I understand that I am prohibited from copying, disclosing, or otherwise usmg

"Confidential" information in any manner with respect to any person other than counsel in the

above-captioned matter. I understand that I am prohibited from allowing any person other than

counsel of record in this matter to see any "Confidential" information produced to me. I also

understand that my execution of this Agreement to Maintain Confidentiality is a prerequisite to

my review of any "Confidential" information. In addition, I understand that I am required to return

all "Confidential" information to counsel within seven (7) days after I am notified that this action

has been concluded as defined by the Protective Order of Confidentiality.


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        I also hereby agree to be subject to the jurisdiction of the United States District Court,

Eastern District of Arkansas for appropriate proceedings in the event of any violation or alleged

violation of this Order.

Dated this _ _ _ _ day of _ _ _ _ _ _ __,-------"-




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